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15   UNITED STATES OF AMERICA
16                            UNITED STATES DISTRICT COURT
17                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
18   UNITED STATES OF AMERICA                   2:24-CR-000456-TJH
19                     v.                       GOVERNMENT’S NOTICE REGARDING
                                                RELATED DECISION
20   ANDREW LEFT,
21               Defendant.
22

23         The United States of America, by and through counsel of record,
24   files this notice concerning a related decision by the Hon. Sherilyn
25   Peace Garnett in a related civil enforcement action, Securities and
26   Exchange Commission v. Andrew Left and Citron Capital, LLC, 2:24-cv—
27   6311-SPG-JC, ECF No. 29 (April 22, 2025) (attached hereto as Exhibit
28   A).   While there are certain differences between the SEC’s complaint
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1    and the indictment in this matter, Judge Garnett’s decision — denying

2    the civil defendants’ motion to dismiss the civil enforcement action

3    by the SEC — addresses certain overlapping issues with the current

4    motion pending before this Court.            (See ECF No. 34 (Defendant Left’s

5    Motion to Dismiss the Indictment).)            Namely, Judge Garnett rejected

6    defendants’ arguments that the SEC had failed to state a claim

7    alleging securities fraud concerning the defendants’ fraudulent

8    scheme and fraudulent misstatements.            See Ex. A at 19-24.       Similarly,

9    Judge Garnett rejected defendants’ arguments that the complaint
10   improperly alleged extraterritorial jurisdiction, violated
11   defendants’ First Amendment rights, or violated defendants’ Due
12   Process rights. See Ex. A at 24-26; fn. 10.
13         In advance of the forthcoming hearing on defendant’s motion to

14   dismiss this case, the government provides notice of this related

15   decision in the civil enforcement action for the Court’s

16   consideration.

17         DATE:    April 28, 2025

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                                            Respectfully submitted,
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                                                  U.S. Department of Justice
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